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              IN THE BAN KRUTCY APPELLATE COURT OF THE SOUTHERN DISTRICT OF
                                        FLOR ID A

      4
           D EBTOR
      5
           NUJBIA M AR ELLA PEREZ
                                                       APPELLATE CASE N iltf#b kg
                                                                               ,. j . .n-c.
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                                       .               18-CV -24463-FA M                                                :
                                                       Bankruptcycourt                DEc i!11
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      8                                                cAsENo:1815825               S
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                                                       A PPELLA NT T H O M A S N E USO M 'S
                                                       M O T IO N FO R REH EA RN G O F TH E
                                                       D EN IAL O F TH E EM ER G EN C Y
     12                                                M O TIO N FO R STA Y D UR IN G
                                                       PEN DEN C Y O F TH E A PPE AL
     13                                                TO TH E BAN K R U PT CY A PPELLA TE
     14                                                PA N EL

     15
                                                       H EA RING :
     16                                                D ATE
                                                       TIM E
                                                       PLA CE
     18
     19 M oTlox FoR STAY DIJRING PENDENCY OF TH E APPEAL TO THE
     20 BANKRIJPTCY APPELLATE PANEL

     21
     22      1. C O M E S N O W ,AppellantThom asN eusom requesting thatthe Bankruptcy Appellate
     23 Panelgranta rehearing ofthe JudgeM oreno denialofhismotion to granta stay oftheFindings
     24   Of Fact A nd Conclusions O f Law in the Bankruptcy Court in Case N o. 18-15825 during the
     25 pendency of the Appealw ith Case N o.l8-CV -24463-17AM pursuantto Rule 40 ofthe Federal
     26 RulesO fAppellate Procedure.
     27
     28
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          2.The relevantpartofBankruptcy Rule of 8007 states:
      4
      5

      6            R ule B007. Stav Pendinq A ppeal; Bonds;
                          Suspension of Proceedinqs
      8 (a)lnitialMotion in the Bankruptcy Court.
      9    (1)In General.Ordinarily,a party mustm ove firstin the bankruptcy courtfor
            the follow ing relief:
     10         (A)a stay ofajudgment, order,ordecree ofthe bankruptcy court pending
              appeal;
     12         (B)the approvalofa supersedeas bond;
                (C)an ordersuspending,m odifying,restoring,orgranting an injunction while
     13       an appealis pending; or
     14         (D)the suspension orcontinuation ofproceedings in a case orotherrelief
     15       perm itted by subdivision (e).

     16
              (2)Tim e to File.The m otion may be made eitherbefore orafterthe notice of
            appealis filed.
     18
     19 (b)Motion in the DistrictCourt,the BAP,orthe CourtofAppeals on DirectAppeal.
     20       (1)RequestforRelief.A m otion forthe reliefspecified in subdivision (a)(1)- or
            to vacate or m odify a bankruptcy court's order granting such relief- m ay be m ade
     21     in the coul w here the appealis pending .
     22       (2)Showing orStatem entRequired.The motion must:
     23         (A)show thatmoving firstin the bankruptcy courtwould be impracticable;or
     24         (B)ifa motion was made in the bankruptcy court,eitherstate thatthe court
              has not yet ruled on the m otion,or state that the court has ruled and set out
     25       any reasons given forthe ruling.

     26
     27       (3)AdditionalContent.The m otion mustalso include:
                                                      2
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                 (A)the reasons forgranting the reliefrequested and the facts relied upon;
                 (B)a/idavits orothersworn statements supporting facts subjectto dispute;
              and
                 (C)relevantparts ofthe record.
      4
      5       (4)Serving Notice.The movantmustgive reasonable notice ofthe motion to aII
            parties.
      6
          (e)Continuation ofProceedings in the Bankruptcy Court.Despite Rule 7062 and
          subjectto the authority ofthe districtcourt,BAP,orcourtofappeals,the
      8 bankruptcy court m ay:
      9       (1)suspend ororderthe continuation ofotherproceedings in the case;or
              (2)issue any otherappropriate ordersduring the pendency ofan appealto
     10     protect the rights of a1Iparties in interest.
          (Added Apr.25,2014,eff.Dec.1,2014.)
     12                                      PRXOR RULE
          A prior Rule 8007, Apr.25, 1983, eff.A ug. 1, 1983, as am ended M ar.3O, 1987,
     13 eff. Aug.1,1987;Apr.30, 1991,eff.Aug.1, 1991,related to com pletion and
     14 transm ission ofthe record and docketing of the appeal, prior to revision of Part
        VI1l,A pr.25, 2014,ef'f. Dec. 1, 2014.
     15
     16 4 A ppellantThom asN eusom isorw as a Bankruptcy Attonzey able to file in the Southern
         .

     17
        D istrictofFlorida,and he has an application pending to tile Bankruptcies in the M iddle D istrict
     18
     19 ofFlorida.

     20
          5.ThesubjectofthisAppealisinregardstothepersonalBankruptcyofNubiaM arcellaPerez.
     21
        Som e issues cam e up during the Bankruptcy w here an eviction attorney nam ed Joseph Colletti
     22
     2a m isunderstood the situation and m ay havem istakenly putin astayin an eviction ofabusiness

     24 ow ned by Perez called A PlusLam ination. ltw as a11Colletti'sm istake because he had a copy of

     25 theleasebetween theLandlord Holland andA PlusLam ination.
     26
     27
     28
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          Collettiacted withoutthe requisiteknowledge arld experience and did notconsultwith hisown

          Bankruptcy Cotmselbeforeheacted in violation oftheRulesofProfessionalResponsibility.


      4 4-1. C LIEN T-LA W Y ER R ELA TIO N SH IP R ULE 4-1.1 C O M PETEN C E A law yerm ust
        provide com petentrepresentation to a client. Com petentrepresentation requiresthe legal
      5 know ledge,skill,thoroughness,and preparation reasonably necessary forthe representation.
      6 Com mentLegalknowledge and skillIn determ ining whethera lawyeremploystherequisite
        knowledgeand skillin aparticularm atter,relevantfactorsineludetherelativecomplexity and
      7 specialized nature ofthe m atter,the law yer's generalexperience,the law yer'straining and
        experience in the tield in question,the preparation and study the law yeris able to give the
      8 m atter,and whetheritisfeasible to referthe m atterto,orassociate orconsultw ith,a law yer of
      9 established com petence in the field in question. ln m any instancesthe required proficiency is
        thatofa generalpractitioner. Expertise in a particularfield oflaw m ay be required in som e
     10 circum stances.A law yer need notnecessarily have specialtraining orpriorexperience to handle
        legalproblem s ofa type w ith which the law yerisunfam iliar. A new ly adm itted law yercan be as
     11 com petentas a practitionerw ith long experience. Som e im portantlegalskills,such asthe
     12 analysisofprecedent,the evaluation ofevidence and legaldrafting,are required in alllegal
        problem s. Perhapsthe m ostfundam entallegalskillconsistsofdeterm ining w hatkind oflegal
     13 problem sasituation m ay involve,askillthatnecessarily transcendsany particularspecialized
        knowledge.A lawyercan provideadequate representation in awhollynoveltield through
     14 necessary study. Com petentrepresentation can also be provided through the association ofa
        lawyerofestablished competence in the field in question.Competentrepresentation may also
     15 involve the association orretention ofa non-law yeradvisorofestablished technological
     16 com petence inthefield in question.Competentrepresentation also involvessafeguarding
        confidentialinfonnation relatingto therepresentation,including,butnotlim ited to,electronic
        transm issionsand com m unications.In an em ergency a law yerm ay give advice or assistance in a
        matterin which thelawyerdoesnothavetheskillordinarily required where referralto or
     18 consultation orassociation w ith anotherlaw yerw ould be im practical. Even in an em ergency,
     19 how ever,assistance should be lim ited to thatreasonably necessary in the circum stances,forill-
          consideredactionunderemergencyconditionscanjeopardizetheclient'sinterest.A lawyermay
     20 acceptrepresentation w here the requisite levelofcom petence can be achieved by reasonable
        preparation. Thisapplies asw ellto a law yerw ho isappointed as counselfor an unrepresented
     21 person. See also nzle 4-6.2.Thoroughnessand preparation Com petenthandling ofaparticular
     22 m atterincludesinquiry into and analysis ofthe factualand legalelem ents oftheproblem ,and
        use ofm ethods and proceduresm eeting the standardsofcom petentpractitioners. Italso includes
     23 adequate preparation. The required attention and preparation are determ ined in pal4 by whatisat
          stake'
               ,majorlitigationandcomplextransactionsordinarilyrequiremoreextensivetreatmentthan
     24 m atters oflessercom plexity and consequence. The lawyer should consultw ith the clientabout
        the degree ofthoroughnessandthelevelofpreparation required aswellastheestimated costs
     25
        involved underthecircumstances.M aintainingcompetence To maintain therequisiteknowledge
     26 and skill,a law yershould keep abreastof changesin the law and itspractice,engage in
        continuing study and education,including an understanding ofthe benefits and risksassociated
     27
     28
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          with theuse oftechnology,and comply with allcontinuing legaleducation requirementsto
        whichthelawyerissubject.
      2 AmendedM arch23,2006,effectiveMay 22,2006(SC04-2246),(933 So.2d417);September
        29,2016,effectiveJanuary 1,2017(SC16-574),200 So.3d 1225.
          R RTFB Septem ber l7,2018
      4
      5   6.N eusom filed the Perez Bankruptcy and w as obtaining m ore infonuation aboutthe case w hen
      6
          he m ay have spoken to Collettiaboutitin orderto obtain case docum entation such asthe Lease

      8 which Perez and hercom pany w ere unable to give him . The eviction A ttorney forA Plusw as

      9 Alex Borell.

     10
        7.Based on thefactsofthecaseNeusom believeshewillbesuccessfulin reversing theFindings
     11
     12 ofFactand Conclusions ofLaw entered by Judge A .Jay Cristolon N ovem ber4,2018 w hich is

     13 currently being appealed.
     14
     15 8.Thefindingshavehad the effectofclosing down TheLaw OfficeofThomasG.Neusom 's

     16 BankruptcyPracticewhilehehasacurrentChapter11Bankruptcy casepending in W estPalm
     17 Beach Florida forthe BB lack Corporation. TheChapter11Bankruptcy Petition wasfiled on
     18 O ctober 1,2018 w ith CaseN o.18-23654.
     19
     20
        9.The Law O ftice ofThom as G .N eusom isalso in the processof filing a Chapter 7 B ankruptcy
     21
     22 caseintheM iddleDistrictofFlorida.Neusom hasobtained membership intheM iddleDistrict

     23 ofFlorida and hasalm ostcompletedthebankruptcy training.
     24
     25
     26
     27
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      2   10.Neusom and hispotentialclientsBBlack Corporation and Early HopeTransport1ncwill

      3 sufferirreparableharm andimminentinjuryifastay andultimatevacatingoftheFindingsOf
      4 FactAnd conclusionsofLaw isnotgranted.
      5
      6   11.Schedulesin theBBlack Bankruptcy Casearedueon November8,2018 and dueto thefact

      Z thatthefiling entity isa corporation the Officerscan notrepresentit. 1have informed the
      8   Officersofthe Com oration aboutthe Cristolorderwhich wentinto effectofNovember6,2018
      9
          and Ihave advised them to obtain otherBankruptcy Counsel,butthey w ere infonned about
     10
          N eusom 's issuesw ith Cristolbefore the filing and they could notfind a Bankrutpcy Attorney for
     11
     j2   theirChapter 11 before orafterthe tiling oftheirPetition.

     13
        12.ltiscriticalthatastay ofJudgeCristolsFindingsand FinalJudgm entbeputin placeorthe
     14
     15 OfficesBBlack Com oration and Early HopeTransportlnc clientsin SaintPetersburg willbe

     16 hurtwith theW estPalm Beach clientslikely facingconversion ordism issaloftheircase.

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          13.ln Orderto confinn whatisstated by Appellantin thisM otion forStay,portionsofoneofthe
          Ordersin the BBlack Corporation Banknzptcy case follow :

      4                                        U.S.Bankruptcy Courf
      5
                                             Southern DistrictofFlorida
      6
          Noti
             ce ofElectronic Filing

      8 The following transaction was received from Adam ,Lorraine entered on 11/1/2018 at8:54 AM EDT and
      9 filed on11/1/2018
          case Name:          B Bl
                                 ack Corp
     10 case Num ber:  18-23654-MAM
        DocumentNumber:z

     12 DocketText:
     13 Noti
           ce oflncomplete FilingsDue.IDeficiencyMustbeCuredby11/8/20183.ListofTwentyLargest
          Unsecured Creditors Due:11/8/2018.Corporate Ownership Statementdue 11/8/2018.Chapter11Small
     14   Business Documents due by 11/8/2018.ListofEquity Security Holders due 11/14/2018.Summary of
          YourAssetsand Liabili
                              ti
                               es and Cedain StatisticalInform ation due 11/14/2018.Schedule A/B due
     15 11/14/2018 Schedule D due 11/14/2018.Schedule E/F due 11/14/2018.Schedule G due 11/14/2018.
                    .


     j6 Schedule H due 11/14/2018.StatementofFinancialAffairs Due 11/14/2018,DecIarationConcerning
        DebtorsSchedulesDue:11/14/2018.(IncompleteFilingsdue by11/14/2018).(Adam,Lorraine)

     18 Thefollowing documentts)areassociated wi
                                               ththistransaction:
     19   14.ltiscriticalthatastay beentered and Thom asNeusom isentitledto a stay ofthe FindingsOf

     20 factAnd ConclusionsOfLaw Entered by JudgeCristolon October4,2018.
     21
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          A. THE FINDINGS OF FACT AND CONCLUSIONS OF LAW ARE LOGICALLY AND LEGALLY
             INCONSISTENT AND OM ITS M ATERIAL INFORMATION AND IS A M ISREPRESENTATION
      3      AGAINST PLAINTIFF/APPELLANT NEUSOM
      4
        14.0ne ofm y concerns is thatthe Findings claim thatNeusom lied to Colletti.This isa
      5 Conclusion w ith no factualbasisbeyond the testim ony ofCollettiw ho adm itted w ho has
      6 little orno know ledge ofBankruptcy and violated the Florida RulesOfProfessional
        Responsibility w hen he acted and this w as proven w hen he adm itted he did additional
      7 research,hired outside Counseland then changed hism ind aboutw hathe had done.

      8 ls Neusom forced him to do nothing. To claim thata phone callby Neusom forced him to
      9 do anything defies reason,is a lie and an obviousm isrepresentation. ltw illnotstand on
        Appealso this is good reason to vacate or am end the Findingsnow .There is no good
     10 reason toforcePlaintiff/appellantNeusom tohavetolitigatethisandfileComplaintswith
        theEEOC andJusticeDepartment.
     11
     12
        16.ThisisoneareawheretheOpen And Obviousdoctrine isso im portant.Collettihad the
     13 eviction inform ation and he should have understood the w ay in w hich the lease w ould
        im pactthe applicability ofthe stay. Ifhe did notknow the Rules say he should have sought
     14 advice. Therulesdo notsay actincom petently withoutseeking advice and then try to
     15 blam eothersafterchangingyourm ind asCollettihasdone.

     16 17.Atm ost,Collettim isunderstood w hathewastold orw asm istaken.Hew asneverlied
        to and a findingthatNeusom lied could have consequencesthatseriously hurthim .Thisis
        avery im portantissuetom ebecause my livelihood isatstake dueto theCourt'serroneous
     18 findingsand conclusionsand Colletti'sunsubstantiated selfservinghearsaytestimony.

     19 18.The0neyearEnjoiningfrom BankruptcyPracticeisunfairandunwarrantedwhenone
          looksatthiscase.Ithasalso been financially detrim ental.
     20
     21
     22
     23
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     25
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          19.The case law cited in Holland'sown Sanctionsm otion gives guidance on w hatan appropriate

          sanction is.
      4
          lnReDouglas,141B.R.252tBallkr.N.D.Ga.1992)
      5
          U nited StatesBankruptcy Cotu't,N .D .Georgia
      6
        Filed:M arch 20th,1992
        PrecedentialStatus:Precedential
        C itations: 141 B.R.252
      8 DocketNum ber:Bankruptcy No. A 91-64357-5W C
      9 Judges:Stacey W .Cotton

     10 W hen granting sanctions in the D ouglas case the courtconcluded by stating:

            ttln itsm otion,California Federalseeks attorney'sfeesand expensesincurred in preparing and
                presenting the em ergency m otion to dism issdebtor'sChapter 13 case and itsm otion for
     12      sanctions.Bankruptcy Rule 9011 authorizesthe courtto im pose .an appropriate sanction,
     13       w hich m ay include an orderto pay to the otherparty orparties the am ountofthe reasonable
            expensesincurred becauseofthefiling ofthedocum ent,including areasonable attonwy'sfee.''
     14      Fed.R .B mO .P.9011.Sanctionsm ay include the reasonable expenses ofpursuing the Rule 11
            claim .M ikeOusley Prod.Inc.,952 F.2d at383-84.CounselforCaliforniaFederalhasfiled an
     15    affidavitsetting forth an item ization ofthe servicesrendered and expensesincurred in preparing
     16      the m otionsto dism iss and for sanctions.This affidavitstates thatCalifornia Federalincurred
           $1,630.25 in feesand expenses.Having exam ined theitem ization ofservicesand expenses,the
            courtfinds and concludesthatthe hourly ratescharged are w ithin the range ofhourly rates
         charged by attorneysand paraprofessionalsofcom parableskill,experienceand reputation.The
     18 services rendered were reasonable and necessary in the filing and prosecution ofthese m otions in
        response to thisabusive and im properserialbankruptcy filing.Accordingly,California Federal's
     19
          m otion for sanctionsisgranted.The courtim poses sanctionsupon debtor's counsel,M ilton D .
     20  Jones,forCaliforniaFederal'sattorney'sfeesand expensesin thesum of$1,630.25.5' 141 B.R.
                                                    252(1992)
     21
           In re H arold D OU G LA S.Debtor.CALIFO RN IA FED ER AL BAN K .FSB.M ovant.
     22    V.Harold DOUGLAS. Respondent.BankruptcyNo.A91-64357-5W C.United States
     23    B ankruptcv C ourt.N.D .G eorzia.A tlanta Division.M arch 20.1992.

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          lnReM organ,85B.R.622tBankr.M .D.Fla.1987)
          United StatesBankruptcy Court,M .D .Florida
        Filed:O ctober26th,1987
        PrecedentialStatus:Precedential
      4 C itations:85 B.R .622
        D ocketN um ber:Bankruptcy N o.87-4663
      S Judges:A lexanderL. Paskay
      6
          20.W hen granting sanctions in the M organ case,the Courtconcluded by stating:

      8 Gtclearly,itwasnotthe intentofCongressto allow D ebtorsto file Chapter 7 Petitions forthe
      g singularpurposeofdelaying the inevitableconclusion offoreclosure.Asitisadm itted bythe
        D ebtor'scounselthatthe sole pum ose forfiling the Debtor'spetition w asto preventand delay
     10 theforeclosuresaleby C & S,thisCourtissatisfied thatsanctionsin theam otmtof$1,000.00
          shouldbeimposedjointlyandseverallyagainsttheDebtorandherattorney,MichaelSteinberg,
          to com pensate for attorney feesincurred in connection w ith the aborted foreclosure sale.
     12 Itshould benoted, however,thatthe im position ofthese sanctions should be conditioned upon
        theoccurrence ofaproposed saleoftheproperty in dispute,asin theeventtheproperty issold,
     13 C & S w illreceive com pensation forattorney fees incurred by m eansofthe sale proceeds.
     14 A ccordingly, itis
     15 ORD ERED ,A D JU D GED AN D D ECREED thatthe M otion for SanctionsagainstDebtorand
        Debtor's Counselbe,and the sam e ishereby,granted,and JanetM organ and M ichaelSteinberg
     16 arehereby directedto pay C & S $1,000.00 in theeventtheproposed sale ofthe Debtor's
        property doesnotoccur.ltisfurther
        ORD ERED ,A D JUD G ED AN D D ECREED thatin the eventthe proposed sale doesnotoccur,C
     18 & S may seek an Orderby thisCourtdirecting JanetM organ and M ichaelSteinberg tom ake
     19 paymentintheamountof$1,000.00assanctions.''8sB.R.622(1987)ln reJanetK.M ORGAN,
        D ebtor.Banknzptcy N o.87-4663.United States Bankruptcy C ourt,M .D.Fjorida,Tam pa
     20 Division. October26,1987.

     21 In ReM cBride Estates, Ltd.,154B.
                                        R.339(Bankr.N.D.Fla.1993)
     22 U
         nited StatesBankruptcy Court,N .D .Florida
     23 Filed:M arch 26th, 1993
     24 PrecedentialStatus:Precedential
        C itations: 154 B.R .339
     25 DocketNum ber:Banltruptcy No.92-07497
        Judges:Lew is M .K illian,Jr.
     26
     27
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          21.W hen granting sanctionsin In ReM cbridetheCourtconcluded by stating:

      3 tçBased on theforegoing findings, w e find thatthe filing ofthe Chapter l1 petition by M cBride
      4 and itsresistance to Banwtt'sm otion forrelieffrom the stay were done for an im properpurpose,
        thatis the unnecessary delay in the com pletion ofthe foreclosure sale by BarnettBank,and that
      5 such petition and opposition w ere notw ellgrounded in factorw arranted by existing law orgood
        faith argum entforthe extension,m odification,orreversalofexisting law .B.R.9011.The costs
      6 incurred by Barnettasa resultoftheactionsofM cBrideEstatesand itsattorney in filing the
      7 petition forreliefunderChapter 11 and resisting the m otion forrelieffrom stay are as follow s:
          1)$1,440.88publicationcostsforforeclosuresale.
      8
      9 2)$190.00paralegalexpensespreparingforforeclosuresale.
     lo 3)$2,340.50attonwy'sfeesin colmectionwiththemotionforrelieffrom stay.
     11 13444)$60.00filingfeeformotion forrelieffrom stay.
     12 5)$500attorney'sfeesinconnectionwiththemotionforsanctions         .


     13
          Total$4,531.38.
     14
     15 154B.R.8339(1993)ln reMCBRIDE ESTATES,LTD.Debtor.BankruptcyNo.92-07497.
          cnited statesBankruptcy court,N .D.Florida,Tallahassee D ivision.M arch 26,1993.
     16
          The ln ln Re M cbridethesanction was$2,840.00.

     18   109 A review ofthe three ofH olland's own cited casesshow sthatan appropriate sanction ranges
     19 from OneThousandDollars($1,000.00)toTwoThousandEightHundredDollarsFortyDollars.
     20 ($2,840.00).Neusom wassanctioned foroverThirtyThousandDollars($30,000.00),andthe
     21 bulk ofitwasforthingsthattookplacein an eviction casethatCristolreally doesn'teven have
        authority overdue to the Colorado Riverand other Abstention D octrinesand the factthatState
     22
        and FederalCourt'sare separate and distinct.Neusom neverfiled aNotice ofAppearanceor
     23 filed anything in the eviction case he isbeing sanctioned forby Judge Cristol. This is clearly
     24 an error.
     25
     26
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        22.Appellanthasgoneinto them eritsand argum entsofhisAppealso thattheBarlkruptcy
      2 A ppellate Panelcan see the m eritsofA ppellantscase and the wrongfulness ofnotgranting a
        Stay so thatAppellantcan resumehisBankruptcy Practice. Thisisabsolutely critical and
      3 AppellantandhispotentialclientswillbeimminentlyinjuredifthisM otionforstayisdenied.
      4
      5 23.W HEREFORE,Neusom prays thatthe BankruptcyAppellate Panel:

      6         StayfurtherproceedingsoftheFindingsOfFactAnd ConclusionsOfLaw in CaseNo.18-
                 15825 duringthePendency ofThom asNeusom 'sBankruptcy Appealw ith Case No.18-cv-
                 24463-F4M
      8
      9
     10
     11   D ated:D ecem ber 13,2018:
          .




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     13
                                                        .

                                                            v - z/ ..
                                                            By:/s/Thom asN eusom
                                                            Attorney ForD ebtor
     14                                                     BarNo.003717
     15                                                     (954)200-3536
                                                            4737 N .Ocean D rive,#129
     16                                                     FortLauderdale,FL 33308
                                                            Email:tgnoffice3s@ gmail.com
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      2                     CERTIFICATE O F SERV ICE
      3 lHEREBY CERTIFY thatatnle and correctcopy oftheforegoing
      4 A PPE LLA NT TH O M A S NEU SO M 'S M O TIO N FO R REH EAR N G O F TH E D ENIAL O F
      5   TH E EM ER G ENC Y M O TIO N FO R STAY D U RIN G PEN D ENC Y O F TH E A PPEAL
          TO TH E BAN K R U PTCY A PPEL LA TE PA N EL
      6

         was furnished by em ailto the partieson the eservice portalby CourtClerk on D ecem ber 13,
      8 2018.

      9
     10


     12                                                    By:/s/-
                                                                 fhom asN eusom
                                                           Appellant
     13                                                    BarN o.0037174
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